                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA

 IN THE MATTER OF THE SEARCH OF                      ) Case No. 1:21-mj-00066-MMS
 ELECTRONICS SEIZED FROM                             )
 CATHERINE DEMARS ON MAY 5, 2021                     )
                                                     )
                                                     )                   Aug 04 2021




                     AFFIDAVIT IN SUPPORT OF A SEARCH WARRANT

        I, Matthew B Judy, Special Agent of the Federal Bureau of Investigation (“FBI”), being

first duly sworn, upon oath, depose and state the following:

                        INTRODUCTION AND AGENT BACKGROUND

        1.       I make this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a search warrant authorizing the examination of property—an

electronic device—which is currently in law enforcement possession, and the extraction from

that property of electronically stored information described in Attachment B.

        2.       I am a Special Agent with the Federal Bureau of Investigation (FBI), and have

been since August of 2004. During my employment with the FBI, I have been assigned the

investigation of criminal matters within the jurisdiction of the FBI, with emphasis in the areas of

drugs, violent crimes, violent crimes against children, street gangs, and fugitives. I have served

assignments in Utah and along the United States-Mexico border of Texas. In both previous

locations, I was tasked to investigate criminal enterprises involved in the trafficking of illegal

drugs. I have been assigned to the Juneau Resident Agency within the Anchorage Division of

the FBI since October of 2010. In my current assignment, I am responsible to investigate all

criminal activity currently under the jurisdiction of the FBI, to include investigations involving

illegal drugs.


                                           Page 1 of 33


        Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 1 of 29
                                            Aug 04 2021




                                                                              1:21-mj-00066-MMS
       3.      Due to the proliferation of technical resources in criminal activity, particularly the

use of computers, smart phones, and other digital devices, I have investigative experience with

technical aspects of criminal investigations, and I have attended trainings, conferences, and

seminars that have provided me training on technical resources.

       4.      The facts in this affidavit come from information obtained from my investigation,

from my training and experience and information obtained from other agents and witnesses.

This affidavit is intended to show merely that there is sufficient probable cause for the requested

warrant and does not set forth all my knowledge about this matter.

       5.      This investigation concerns allegations of violations and attempted violations, by

David Sompet Powers (“Powers”), Janel Lynn Davis (“Davis”), Keoni Timothy Bischoff

(“Bischoff”), Catherine Demars (“Demars”), Eliza Coyle (“Coyle”), Lorvin Uddipa (“Uddipa”)

and others known and unknown to law enforcement, herein after referred to as the “TARGET

SUBJECTS”, for the following:

                       i. Title 21 United States Code (U.S.C.) Section 841, “Distribution of a

                          Controlled Substance";

                      ii. Title 21 U.S.C. Section 843(b), “Use of a Communication Facility to

                          Further a Drug Offense";

                      iii. Title 21 U.S.C. Section 846, "Conspiracy to Distribute a Controlled

                          Substance";

                      iv. All three of the above statutes are herein after referred to as the

                          “TARGET OFFENSES”.




                                           Page 2 of 33

        Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 2 of 29
                             Aug 04 2021

                                                                             1:21-mj-00066-MMS
                                 PROPERTY TO BE SEARCHED

       6.      This affidavit is made in support of an application for a warrant to search the

following listed items, hereinafter referred to as the SUBJECT DEVICES, and described in

Attachment A (attached hereto and incorporated herein by this reference). The SUBJECT

DEVICES are currently in the custody of the FBI and stored as FBI evidence items in FBI case

number 281C-AN-3274362. The items are currently stored at the FBI’s Juneau Resident

Agency (JRA) of the Anchorage Division, 709 West 9th Street, Room 957, Juneau, Alaska.

               a.      Rose Gold Samsung Galaxy Note20 Ultra 5G, serial number

                       R5CN802670Z seized from Catherine Demars on May 5, 2021, which is

                       stored in FBI evidence as item 1B100 of case number 281C-AN-3274362.

                       This item is hereinafter referred to as SUBJECT DEVICE 1 and is

                       currently located at the JRA.

               b.      LG LM-K920AM smart phone, serial number 101VTXF0044642 seized

                       from Catherine Demars on May 5, 2021, which is stored in FBI evidence

                       as item 1B105 of case number 281C-AN-3274362. This item is hereinafter

                       referred to as SUBJECT DEVICE 2 and is currently located at the JRA.

       7.      Since this affidavit is being submitted for the limited purpose of securing

warrant(s) to search and seize evidence, fruits, or instrumentalities of violations of the TARGET

OFFENSES from the SUBJECT DEVICES, I have not included each and every fact known to

me regarding this investigation. I have set forth only the facts I believe are necessary to

establish a foundation for the requested search warrant(s).




                                           Page 3 of 33

        Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 3 of 29
                            Aug 04 2021


                                                                             1:21-mj-00066-MMS
                                          ITEMS TO BE SEIZED

       8.     The applied-for warrant would authorize the forensic examination of the

SUBJECT DEVICES for the purpose of identifying electronically stored data particularly

described below and in Attachment B.

       9.     All items, records, and information that are evidence, fruits, or instrumentalities

for violations of the TARGET OFFENSES involving the TARGET SUBJECTS to include:

              a.     All records, receipts, communications, and other items related to the

                     possession and distribution of illegal drugs, to include methamphetamine

                     and heroin;

              b.     All records, receipts, communications, and other items evidencing the

                     obtainment, secreting, transfer, concealment or expenditure of proceeds

                     acquired through trafficking in controlled substances, including all items

                     evidencing the expenditure of drug related proceeds, namely; receipts,

                     purchase agreements, vehicle titles, warranty applications, homeowners’

                     or renters insurance applications and claims, photographs and/or video

                     recordings of luxury items, jewelry, and expensive vacations;

              c.     Account statements, account summaries, credit card statements, banking

                     deposit slips, images of handwritten notes containing account information,

                     account holder and/or amount deposited, money market accounts, and

                     overseas banking information to include routing codes, deposit receipts,

                     canceled checks, loan agreements, and loan applications;

              d.     Records related to commercial storage lockers;



                                             Page 4 of 33

       Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 4 of 29
                  Aug 04 2021



                                                               1:21-mj-00066-MMS
     e.    Wire transfer documents, receipts, and images of handwritten notes

           containing wire service tracking numbers, amounts sent, and intended pay-

           out locations;

     f.    All records, receipts, communications, and other items related to travel

           including flight itineraries, airline tickets, airline ticket receipts, airline

           luggage tags, images of handwritten notes containing airline confirmation

           codes, frequent flyer mileage plan information and summaries, images of

           business cards from other areas, hotel receipts and car rental agreements

           and receipts;

     g.    Items tending to establish the identity of the persons in control, including

           all records, receipts, and other items evidencing who controlled the

           property identified in Attachment A;

     h.    Items tending to establish and document sales of controlled substance

           and/or other controlled substances, or conspiracy to manufacture,

           distribute, and/or possess with the intent to distribute controlled substances

           and/or controlled substances, namely; buyer lists, seller lists, ledgers, tally

           sheets, pay and owe sheets, price lists, notes and diaries;

     i.    Items tending to establish the identity of co-conspirators, namely; address

           books, records and documents bearing notations of names, aliases and

           associated telephone numbers, photographs and videotapes;

     j.    Photographs, video or audio recordings of the aforementioned individuals

           and other drug associates, controlled substances, firearms, or assets



                                Page 5 of 33

Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 5 of 29
                            Aug 04 2021

                                                                          1:21-mj-00066-MMS
                     obtained from the proceeds acquired through trafficking in controlled

                     substances; and

              k.     All records, receipts, communications, and other items which may identify

                     additional communication accounts utilized by the TARGET SUBJECTS

                     and other co-conspirators, to include Facebook, Snap-Chat, WhatsApp,

                     Signal, and telephonic accounts.

       10.    As used above, the terms “records” and “information” include all of the foregoing

items of evidence in whatever form and by whatever means they may have been created or stored,

including any form of computer or electronic storage (such as flash memory or other media that

can store data) and any photographic form.

                                TRAINING AND EXPERIENCE

       11.    Based upon my training and experience, I know:

              a.     It is common for persons involved in drug trafficking to acquire large

                     amounts of U.S. currency from their involvement in the drug trade and to

                     maintain large amounts of U.S. currency on hand, in order to maintain and

                     finance their ongoing illegal activities as well as paying bills, acquiring

                     assets, and making other purchases;

              b.     It is common for persons involved in drug trafficking to maintain and hide

                     U.S. currency within their residences, buried on their property, and hidden

                     in vehicles and outbuildings to conceal this U.S. currency from law

                     enforcement authorities;

              c.     It is common for persons involved in drug trafficking to maintain records

                     evidencing their illegal activities, including books, receipts, notes, ledgers,

                                          Page 6 of 33

       Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 6 of 29
                 Aug 04 2021



                                                                  1:21-mj-00066-MMS
          airline tickets, money orders, safe deposit box keys, and other papers and

          documents relating to the transportation, ordering, possession, sale and

          distribution of drugs. The aforementioned books, receipts, notes, ledgers,

          etc. are frequently maintained at the suspect’s residence or business or

          other property in either paper or electronic form or both. When such

          records are maintained in electronic form, it is common for them to be

          stored on stand-alone or networked computers, “laptop” computers, “palm-

          sized” personal data assistants, cellular telephones, other computer

          peripherals, or electronic data storage devices;

     d.   It is common for persons involved in drug trafficking to maintain addresses

          or telephone numbers in books, cellular telephones, pagers, electronic data

          storage devices such as computers and personal data assistants/organizers,

          or on papers, which reflect the names, addresses and/or telephone numbers

          of their associates in the Drug Trafficking Organization (“DTO”);

     e.   It is common for persons involved in drug trafficking to maintain multiple

          cellphones for use as business telephones and to switch between cellphones

          on a semi-regular basis.

     f.   It is common for persons involved in drug trafficking to attempt to

          legitimize their profits from the sale of drugs. Additionally, to accomplish

          this goal, drug traffickers utilize foreign and domestic banks and their

          attendant services (especially cashier’s checks, money orders/drafts,

          electronic funds transfers/wires, and safe deposit boxes) as well as real

          estate and business transactions, both real and fictitious;

                               Page 7 of 33

Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 7 of 29
                  Aug 04 2021

                                                                1:21-mj-00066-MMS
     g.   It is common for persons involved in drug trafficking to cause photographs

          and videos of themselves, their associates, their property, and their products

          to be taken or created;

     h.   It is common for persons involved in the business of drug trafficking to

          report false names, addresses, telephone numbers, and other information to

          government and law enforcement personnel and agencies in an attempt to

          conceal their identity, address, and contact information as well as the actual

          use, possession, or ownership of significant assets or equipment such as

          vehicles, aircraft, boats, real estate, rental units, storage facilities, bank

          accounts, computers, communication devices, and other assets or

          equipment used in or derived from their illegal drug trafficking activities;

     i.   It is common for persons involved in the business of drug trafficking to

          communicate to co-conspirators utilizing electronic means, including text

          messaging, instant messaging, emails, and telephone calls;

     j.   It is common for persons involved in the business of drug trafficking to

          utilize computers and cellular telephones to search internet package

          tracking websites (i.e. www.usps.com, www.fedex.com, www.ups.com,

          www.aml.com, etc...) to determine the location of drug shipments;

     k.   It is common for persons involved in the business of drug trafficking to

          utilize computers and cellular telephones to search internet money service

          businesses and financial institutions’ websites (i.e.

          www.westernunion.com, etc...) to determine the status of money transfers

          and track bank account information;

                                Page 8 of 33

Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 8 of 29
                 Aug 04 2021


                                                                1:21-mj-00066-MMS
     l.   It is common for persons involved in the business of drug trafficking to

          retain the aforementioned records and items related to their drug trafficking

          activities and associates for long periods of time, even after their drug

          trafficking and money laundering activities have terminated;

     m.   It is common for persons involved in the business of drug trafficking to

          utilize firearms to protect themselves and their illegitimate business. Due

          to the illegitimate nature of drug trafficking, persons involved in this type

          of business will not utilize law enforcement or the court system to resolve

          disputes with customers or other drug traffickers. The lack of the use of

          law enforcement or the court system often causes persons involved in drug

          trafficking to enforce the law on their own, often through the use of

          firearms and other weapons; and

     q.    I know that in United States v. Terry, F.2d 272 (9th Cir. 1990), United

           States v. Angulo-Lopez, 791 F.2d 1394,1399 (9th Cir.1986), United States

           v. Hernandez-Escargega, 886 F. 2d 1560, 1567 (9th Cir. 1989) and in

           United States v. Fannin, 817 F. 2d 1379, 1381-1382 (9th Cir. 1987), the

           court held that in the case of drug traffickers, evidence is likely to be

           found where dealers live and a search warrant may be properly issued

           against a suspected drug dealer’s residence despite the lack of direct

           evidence of criminal activity at the residence. The court also held, in

           United States v. Cardoza, 769 F. 2d 625, 630 (9th Cir. 1985) that a search

           warrant may be properly issued to search a drug trafficker’s storage locker



                               Page 9 of 33

Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 9 of 29
                             Aug 04 2021
                                                                             1:21-mj-00066-MMS
                       ddespite
                            i lack of direct evidence linking the storage locker to criminal

                       activity.

                    FACTS ESTABLISHING PROBABLE CAUSE

                           Pole Cameras Utilized During Investigation

       12.     Pole cameras, including stationary cameras not technically installed on poles,

have been and are currently being utilized in this investigation. On June 9, 2020, a pole camera

was installed viewing a trailer located at 9950 Stephen Richards Memorial Drive, Space #104.

Review of the pole camera footage indicated the trailer at space 104 was the primary residence of

Janel Davis and David Powers. Footage revealed the trailer at 104 to be a location where

activity consistent with drug trafficking occurred.

                      Interception of Wire and Electronic Communications

       13.     On February 22, 2021, United States District Court Judge Timothy M. Burgess

for the District of Alaska authorized the interception of wire and electronic communications to

and from (907) 419-5397, hereinafter referred to as TARGET TELEPHONE 1. Interceptions

began on February 22, 2021. Extension Orders were authorized by District Court Judge

Burgess on March 23, 2021 and again on April 21, 2021. Interceptions have been authorized

through May 20, 2021. During the interception period, monitors have identified the primary

user of (907) 419-5397 to be Janel Davis and have intercepted calls and text messages discussing

the sale and distribution of drugs, primarily heroin and methamphetamine

          Initial Identification of Catherine Demars’ Cellphone Newest Phone Number

       14.     On February 26, 2021, at approximately 6:10 pm, TARGET TELEPHONE 1

received the following text message from (907) 713-4652, “This is my new number too. It’s



                                           Page 10 of 33

       Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 10 of 29
                           Aug 04 2021

                                                                         1:21-mj-00066-MMS
Cat”. Based on my experience with the investigation, I understand, “Cat,” to be a nickname for

Catherine Demars. Due to this text message and the lack of communication after 6:10 pm

between TARGET TELEPHONE 1 and Demars’ other telephone number, (907) 419-5457, I

believe (907) 713-4652 was utilized by Catherine Demars.

 Drug Transaction with Catherine Demars Brokered on TARGET TELEPHONE 1 and TARGET
                                     TELEPHONE 2

       15.    On February 27, 2021, a pen register/trap and trace on telephone number (907)

419-5833, known to be utilized by David Powers and hereinafter referred to as TARGET

TELEPHONE 2 indicated TARGET TELEPHONE 2 and (907) 713-4652 had a text

conversation starting at approximately 4:28 pm and lasting until approximately 5:01 pm. At

approximately 4:28 pm, (907) 713-4652 initiated the conversation by sending a text message to

TARGET TELEPHONE 2. During the time period of 4:28 pm to 5:01 pm, (907) 713-4652 sent

11 text messages to TARGET TELEPHONE 2 and TARGET TELEPHONE 2 sent five text

messages to (907) 713-4652. The final text message, at approximately 5:01 pm, was sent by

(907) 713-4652.

       16.    On February 27, 2021, (907) 713-4652 had the following text conversation with

TARGET TELEPHONE 1. At approximately 5:03 pm, (907) 713-4652 sent, “Are you guys up”

followed by “I’m hereb”. At 5:04 pm, TARGET TELEPHONE 1 replied, “Are you dropping

the keys off” followed by, “He’s sleeping”. At approximately 5:04 pm, (907) 713-4652 sent,

“No I’m picking up”. TARGET TELEPHONE 1 replied, “How much”. (907) 713-4652 sent,

“I just talked to him?” TARGET TELEPHONE 1 replied, “He’s asleep”. At approximately

5:05 pm, (907) 713-4652 sent, “I need two halves. I have paper work too”. At approximately

5:06 pm, TARGET TELEPHONE 1 replied, Ok I’ll be out in a few”. Based on my training and


                                         Page 11 of 33

       Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 11 of 29
                             Aug 04 2021



                                                                             1:21-mj-00066-MMS
experience with the investigation, I believe the term, “picking up,” meant the user of (907) 713-

4652 was taking delivery of drugs. I further believe the “him,” referred to in the conversation

was David Powers. I believe the term, “two halves,” is code for two packages of an illegal drug.

The, “halves” portion of the term is likely to be code for a half gram. Lastly, the term, “Paper

work,” is believed to be code for money. I believe during this text conversation, the user of

(907) 713-4652, who I believe to have been Catherine Demars, had indicated they had arrived at

Davis’ residence in order to obtain drugs, more specifically two packages of one-half gram each.

I believe Demars had discussed the purchase with David Powers previously and contacted Janel

Davis in order to take custody of the drugs and drop money off to Davis and Powers.

       17.     On February 27, 2021 at approximately 5:01 pm, a pole camera installation was

utilized to observe a silver Honda car arrive at 9950 Stephen Richards Memorial Drive, Trailer

104. At approximately 5:10 pm, a female matching the description of Janel Davis approached

the silver Honda from the area of trailer 104. Davis interacted with the driver of the silver

Honda and then returned to the direction of trailer 104 at approximately 5:10 pm. The Silver

Honda then appeared to be stuck in the snow. The female driver who appeared to be Catherine

Demars, exited the Honda and dug the snow away from the car. The Honda then departed the

area. Based on my training and experience with the investigation, I believe the activity

observed via pole camera matched the text conversation between TARGET TELEPHONE 1 and

(907) 713-4652. I further believe the short-term interaction, combined with the text string, was

indicative of a drug transaction.

       18.     Based on the pen register/trap and trace data on TARGET TELEPHONE 2, I

believe (907) 713-4652 had discussed the “picking up” of, “two halves,” with, “Him,” who is

believed to be David Powers. Based on the time stamp of the pole camera indicating the Honda

                                           Page 12 of 33

       Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 12 of 29
                            Aug 04 2021

                                                                           1:21-mj-00066-MMS
Civic arrived at 5:01 pm, which corresponded with the final text message between (907) 713-

4652 and TARGET TELEPHONE 2, I believe (907) 713-4652 had likely texted David Powers

that she was at the trailer. After no response, the user of (907) 713-4652 texted TARGET

TELEPHONE 1 to advise the same. I further believe, based on the text messages intercepted

over TARGET TELEPHONE 1, combined with pen register/trap and trace data on TARGET

TELEPHONE 2, David Powers discussed the drug transaction which took place in front of 9950

Stephen Richards Memorial Drive, Trailer 104 over TARGET TELEPHONE 2.

 Initiation of Interception of Wire and Electronic Communications of TARGET TELEPHONE 2

       19.     On March 23, 2021, United States District Court Judge Timothy M. Burgess for

the District of Alaska authorized the interception of wire and electronic communications to and

from (907) 419-5833 (“TARGET TELEPHONE 2”). Interceptions began on March 23, 2021.

Interceptions have been authorized through April 21, 2021. During the interception period,

monitors have identified the primary user of TARGET TELEPHONE 2 to be David Powers and

have intercepted calls and text messages discussing the sale and distribution of drugs, primarily

heroin and methamphetamine.

       Drug Transaction between Catherine Demars and Janel Davis on March 23, 2021

       20.     On March 23,2021, TARGET TELEPHONE 1 and telephone number (907) 713-

4652 had a text message conversation which began at approximately 11:44 am and lasted until

approximately 12:59 pm. The following are text messages exchanged during the conversation,

not all text messages which took place have been included. At approximately 11:44 am, (907)

713-4652 texted, “Where are you”. TARGET TELEPHONE 1 replied, “Home”, followed by,

“You need to pick up something? I’m about to head out to run a couple errands”. At

approximately 11:46 am, (907) 713-4652 replied, “Well I actually just woke up and I need

                                          Page 13 of 33

       Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 13 of 29
                           Aug 04 2021



                                                                   1:21-mj-00066-MMS
something bad”. TARGET TELEPHONE 1 replied, “OK I’ll bring it by super soon”. At

approximately 12:41 pm, TARGET TELEPHONE 1 texted, “I’m here. Do you have an extra

mask?” At approximately 12:42 pm, (907) 713-4652 texted, “Qqeced we do you want to come

in or you want me to come out”. TARGET TELEPHONE 1 replied, “Can you run out? I’ve got

the mutt”. At approximately 12:58 pm, (907) 713-4652 texted, “Thank you thank you!” Based

on my training and experience with the investigation, I believe the “Something,” requested was a

small quantity of drugs. I further believe the conversation involved the user of TARGET

TELEPHONE 1, which I believe to be Janel Davis, delivering the small quantity of drugs to the

user of (907) 713-4652, which I believe to be Catherine Demars. My belief in the identify of

the users of the two telephone numbers is further supported by surveillance observations

described in the following paragraph.

       21.     On March 23, 2021, at approximately 12:42 pm, surveillance observed a silver

Honda Civic, Alaska license plate number JTN875 park in front of Building A of the Orca Point

Apartments 2201 Crow Hill Road, Juneau, Alaska. The civic was driven by Janel Davis. At

approximately 12:45 pm, Catherine Demars descended the stairs of the apartment building,

holding a disposable mask, and walked to the Civic. Demars entered the Civic through the front

passenger side door. At approximately 12:46 pm, Demars exited the Civic and walked back up

the stairs to the apartment building. At approximately 12:46 pm, Davis departed the area in the

Civic. Based on my training and experience with the investigation, I believe a short-term stop

and short interaction between Davis and Demars as described in this paragraph to be indicative

of a drug transaction.




                                         Page 14 of 33

       Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 14 of 29
                              Aug 04 2021

                                                                      1:21-mj-00066-MMS
              Arrest of Catherine Demars and Seizure of SUBJECT DEVICES 1 and 2

        22.     On May 5, 2021, Catherine Demars was arrested pursuant to a federal arrest

warrant associated with this investigation. Seized during the arrest of Demars were SUBJECT

DEVICES 1 and 2. During an interview with Demars, she stated she had purchased drugs from

David Powers and Janel Davis. She stated she was not dealing for Powers and Davis and

specifically stated, “I did not hardly deal for them at all, if anything I used, I’d go and get it and

I’d use, but I did not deal for them.” Demars also advised she had used drugs the night before

her arrest. While searching Demars’ jacket incident to her arrest, a small container containing a

small quantity of a black material consistent with heroin was discovered in one of the pockets.

                        Evidence Storage Location of SUBJECT DEVICES

        23.     The SUBJECT DEVICES are currently in storage at the FBI’s Juneau Resident

Agency of the Anchorage Division, 709 West 9th Street, Room 957, Juneau, Alaska. In my

training and experience, I know that the SUBJECT DEVICES have been stored in a manner in

which their contents are, to the extent material to this investigation, in substantially the same

state as they were when the SUBJECT DEVICES first came into the possession of the FBI.

                      UNITED STATES ATTORNEY’S OFFICE REVIEW

        24.     On August 4, 2021, Assistant United States Attorney Jack Schmidt conducted a

probable cause review of this affidavit and approved it for submission to the Court.

                              TIMING OF WARRANT EXECUTION

        25.     Because this warrant seeks only permission to examine devices already in the

FBI’s possession, the execution of this warrant does not involve the physical intrusion onto a

premises. Consequently, I submit there is reasonable cause for the Court to authorize execution

of the warrant at any time in the day or night.

                                            Page 15 of 33

       Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 15 of 29
                            Aug 04 2021


                                                                            1:21-mj-00066-MMS
                                          TECHNICAL TERMS

       26.     Based on my training and experience, I use the following technical terms to

convey the following meanings:

       a.      Wireless telephone: A wireless telephone (or mobile telephone, or cellular

telephone) is a handheld wireless device used for voice and data communication through radio

signals. These telephones send signals through networks of transmitter/receivers, enabling

communication with other wireless telephones or traditional “land line” telephones. A wireless

telephone usually contains a “call log,” which records the telephone number, date, and time of

calls made to and from the phone. In addition to enabling voice communications, wireless

telephones offer a broad range of capabilities. These capabilities include: storing names and

phone numbers in electronic “address books;” sending, receiving, and storing text messages and

e-mail; taking, sending, receiving, and storing still photographs and moving video; storing and

playing back audio files; storing dates, appointments, and other information on personal

calendars; and accessing and downloading information from the Internet. Wireless telephones

may also include global positioning system (“GPS”) technology for determining the location of

the device.

       b.      Digital camera: A digital camera is a camera that records pictures as digital

picture files, rather than by using photographic film. Digital cameras use a variety of fixed and

removable storage media to store their recorded images. Images can usually be retrieved by

connecting the camera to a computer or by connecting the removable storage medium to a

separate reader. Removable storage media include various types of flash memory cards or

miniature hard drives. Most digital cameras also include a screen for viewing the stored images.



                                            Page 16 of 33

       Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 16 of 29
                             Aug 04 2021



                                                                             1:21-mj-00066-MMS
This storage media can contain any digital data, including data unrelated to photographs or

videos.

          c.   Portable media player: A portable media player (or “MP3 Player” or iPod) is a

handheld digital storage device designed primarily to store and play audio, video, or

photographic files. However, a portable media player can also store other digital data. Some

portable media players can use removable storage media. Removable storage media include

various types of flash memory cards or miniature hard drives. This removable storage media

can also store any digital data. Depending on the model, a portable media player may have the

ability to store very large amounts of electronic data and may offer additional features such as a

calendar, contact list, clock, or games.

          d.   GPS: A GPS navigation device uses the Global Positioning System to display its

current location. It often contains records the locations where it has been. Some GPS

navigation devices can give a user driving or walking directions to another location. These

devices can contain records of the addresses or locations involved in such navigation. The

Global Positioning System (generally abbreviated “GPS”) consists of 24 NAVSTAR satellites

orbiting the Earth. Each satellite contains an extremely accurate clock. Each satellite

repeatedly transmits by radio a mathematical representation of the current time, combined with a

special sequence of numbers. These signals are sent by radio, using specifications that are

publicly available. A GPS antenna on Earth can receive those signals. When a GPS antenna

receives signals from at least four satellites, a computer connected to that antenna can

mathematically calculate the antenna’s latitude, longitude, and sometimes altitude with a high

level of precision.



                                           Page 17 of 33

          Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 17 of 29
                             Aug 04 2021




                                                                          1:21-mj-00066-MMS
       e.      PDA: A personal digital assistant, or PDA, is a handheld electronic device used

for storing data (such as names, addresses, appointments or notes) and utilizing computer

programs. Some PDAs also function as wireless communication devices and are used to access

the Internet and send and receive e-mail. PDAs usually include a memory card or other

removable storage media for storing data and a keyboard and/or touch screen for entering data.

Removable storage media include various types of flash memory cards or miniature hard drives.

This removable storage media can store any digital data. Most PDAs run computer software,

giving them many of the same capabilities as personal computers. For example, PDA users can

work with word-processing documents, spreadsheets, and presentations. PDAs may also

include global positioning system (“GPS”) technology for determining the location of the device.

       f.      Tablet: A tablet is a mobile computer, typically larger than a phone yet smaller

than a notebook, that is primarily operated by touching the screen. Tablets function as wireless

communication devices and can be used to access the Internet through cellular networks, 802.11

“wi-fi” networks, or otherwise. Tablets typically contain programs called apps, which, like

programs on a personal computer, perform different functions and save data associated with

those functions. Apps can, for example, permit accessing the Web, sending and receiving e-

mail, and participating in Internet social networks.

       g.      Pager: A pager is a handheld wireless electronic device used to contact an

individual through an alert, or a numeric or text message sent over a telecommunications

network. Some pagers enable the user to send, as well as receive, text messages.

       h.      IP Address: An Internet Protocol address (or simply “IP address”) is a unique

numeric address used by computers on the Internet. An IP address is a series of four numbers,

each in the range 0-255, separated by periods (e.g., 121.56.97.178). Every computer attached to

                                           Page 18 of 33

       Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 18 of 29
                             Aug 04 2021


                                                                             1:21-mj-00066-MMS
the Internet computer must be assigned an IP address so that Internet traffic sent from and

directed to that computer may be directed properly from its source to its destination. Most

Internet service providers control a range of IP addresses. Some computers have static—that is,

long-term—IP addresses, while other computers have dynamic—that is, frequently changed—IP

addresses.

       i.      Internet: The Internet is a global network of computers and other electronic

devices that communicate with each other. Due to the structure of the Internet, connections

between devices on the Internet often cross state and international borders, even when the

devices communicating with each other are in the same state.

       27.     Based on my training, experience, and research, I know some devices have

multiple of the above capabilities rolled into one device. For example, the SUBJECT

DEVICES have capabilities that allow them to serve as a wireless telephone, a digital camera, a

portable media player, a GPS navigation device, and a PDA. In my training and experience,

examining data stored on devices of this type can uncover, among other things, evidence that

reveals or suggests who possessed or used the device.

                    ELECTRONIC STORAGE AND FORENSIC ANALYSIS

       28.     Based on my knowledge, training, and experience, I know that electronic devices

can store information for long periods of time. Similarly, things that have been viewed via the

Internet are typically stored for some period of time on the device. This information can

sometimes be recovered with forensics tools.

       29.     There is probable cause to believe that things that were once stored on the Device

may still be stored there, for at least the following reasons:


                                           Page 19 of 33

       Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 19 of 29
                             Aug 04 2021
                                                                          1:21-mj-00066-MMS
       a.      Basedd on my knowledge, training, and experience, I know that computer files or

remnants of such files can be recovered months or even years after they have been downloaded

onto a storage medium, deleted, or viewed via the Internet. Electronic files downloaded to a

storage medium can be stored for years at little or no cost. Even when files have been deleted,

they can be recovered months or years later using forensic tools. This is so because when a

person “deletes” a file on a computer, the data contained in the file does not actually disappear;

rather, that data remains on the storage medium until it is overwritten by new data.

       b.      Therefore, deleted files, or remnants of deleted files, may reside in free space or

slack space—that is, in space on the storage medium that is not currently being used by an active

file—for long periods of time before they are overwritten. In addition, a computer’s operating

system may also keep a record of deleted data in a “swap” or “recovery” file.

       c.      Wholly apart from user-generated files, computer storage media—in particular,

computers’ internal hard drives—contain electronic evidence of how a computer has been used,

what it has been used for, and who has used it. To give a few examples, this forensic evidence

can take the form of operating system configurations, artifacts from operating system or

application operation, file system data structures, and virtual memory “swap” or paging files.

Computer users typically do not erase or delete this evidence, because special software is

typically required for that task. However, it is technically possible to delete this information.

       d.      Similarly, files that have been viewed via the Internet are sometimes

automatically downloaded into a temporary Internet directory or “cache.”

       30.     Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct

evidence of the crimes described on the warrant, but also forensic evidence that establishes how

                                           Page 20 of 33

       Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 20 of 29
                            Aug 04 2021




                                                                          1:21-mj-00066-MMS
the Device was used, the purpose of its use, who used it, and when. There is probable cause to

believe that this forensic electronic evidence might be on the Device because:

       a.      Data on the storage medium can provide evidence of a file that was once on the

storage medium but has since been deleted or edited, or of a deleted portion of a file (such as a

paragraph that has been deleted from a word processing file). Virtual memory paging systems

can leave traces of information on the storage medium that show what tasks and processes were

recently active. Web browsers, e-mail programs, and chat programs store configuration

information on the storage medium that can reveal information such as online nicknames and

passwords. Operating systems can record additional information, such as the attachment of

peripherals, the attachment of USB flash storage devices or other external storage media, and the

times the computer was in use. Computer file systems can record information about the dates

files were created and the sequence in which they were created.

       b.      Forensic evidence on a device can also indicate who has used or controlled the

device. This “user attribution” evidence is analogous to the search for “indicia of occupancy”

while executing a search warrant at a residence.

       c.      A person with appropriate familiarity with how an electronic device works may,

after examining this forensic evidence in its proper context, be able to draw conclusions about

how electronic devices were used, the purpose of their use, who used them, and when.

       d.      The process of identifying the exact electronically stored information on a storage

medium that is necessary to draw an accurate conclusion is a dynamic process. Electronic

evidence is not always data that can be merely reviewed by a review team and passed along to

investigators. Whether data stored on a computer is evidence may depend on other information

stored on the computer and the application of knowledge about how a computer behaves.

                                          Page 21 of 33

       Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 21 of 29
                             Aug 04 2021



                                                                           1:21-mj-00066-MMS
Therefore, contextual information necessary to understand other evidence also falls within the

scope of the warrant.

       e.      Further, in finding evidence of how a device was used, the purpose of its use, who

used it, and when, sometimes it is necessary to establish that a particular thing is not present on a

storage medium.

       31.     Nature of examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the device consistent

with the warrant. The examination may require authorities to employ techniques, including but

not limited to computer-assisted scans of the entire medium, that might expose many parts of the

device to human inspection in order to determine whether it is evidence described by the warrant.


                  SPECIFIC METHODS OF SEARCHING FOR DIGITAL EVIDENCE

       32.     I am seeking authority to search for, among other things, items containing digital

data, more particularly described in Attachment B. Consistent with Rule 41(e)(2)(B), the warrant

I am applying for would permit seizing, imaging, or otherwise copying storage media that

reasonably appear to contain some or all of the evidence described in the warrant and would

authorize a later review of the media or information consistent with the warrant. The later review

may require techniques, including but not limited to computer-assisted scans of the entire

medium, that might expose many parts of a hard drive to human inspection in order to determine

whether it is evidence described by the warrant.

       33.     The search of a computer hard drive or other computer storage medium is a

time-consuming manual process often requiring months of work. This is so for several reasons,

including the complexity of computer systems, the multiple devices upon which computing can


                                           Page 22 of 33

       Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 22 of 29
                             Aug 04 2021

                                                                         1:21-mj-00066-MMS
take place, and the tremendous storage capacity of modern-day computers, and the use of

encryption or wiping software. As explained above, modern day computers and storage devices

are capable of holding massive quantities of data, and the volume of evidence seized in these

cases can be immense. I am aware of cases in which individuals have possessed thousands of

images on their computer, multiple computers and hard drives, or dozens of storage media upon

which contraband images were found. I know from my training and experience, and from my

discussions with trained computer forensic examiners, that a review of such quantities of

evidence can take a significant amount of time. Second, there is a limited pool of personnel

capable of conducting a forensic examination. Third, in some instances an individual may utilize

encryption software or other publicly available techniques such as wiping software to hide their

digital activity. Forensic tools are available to circumvent some of these techniques; however,

these tools may require a significant allocation of resources and a substantial period of time.

        34.     Some or all of the following search methods may be used to conduct the forensic

search in this case. These methods are not listed in any particular order, nor is their listings in

this affidavit a representation that they will be used in this particular case:

        a.     Keyword Searches: I know that computer forensic utilities provide the capability

               for a user to search for specific key words that may exist on a piece of digital

               media. I intend to use specific keywords. As it concerns to the investigation

               described above, examples of such keywords include, but are not limited to

               "meth," and "heroin.” Those keyword searches will indicate files and other areas

               of the hard drive that need to be further reviewed to determine if those areas

               contain relevant data. A list of keywords utilized will be maintained with the

               records of the forensic examination.

                                            Page 23 of 33

       Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 23 of 29
                   Aug 04 2021


                                                                  1:21-mj-00066-MMS
b.   Data Carving: I know that, as previously mentioned, data residue may be left in

     the "free," "unallocated," or "slack" space of a computer hard drive, that is, the

     space not currently used by active files. I further know that, as previously

     mentioned, many operating systems utilize temporary storage often referred to as

     "swap space" on the hard drive to store contents from main system memory. Such

     unallocated and swap space may contain the residue of files that can be carved out,

     often in an automated or semi-automated fashion. I intend to use forensic tools to

     carve out files, in particular, image files such as JPEG and GIF files. The mere act

     of carving out such files does not expose me to the contents of such recovered

     files, but makes those files available for further relevancy checks, such as keyword

     searches (explained above) and hash value comparisons (explained below).

c.   Hash Value Comparisons: I know that computer forensic utilities provide the

     capability to utilize a function known as a hash algorithm. A hash algorithm uses a

     mathematical formula to analyze the data composing a file, and to generate a

     unique "fingerprint" for that file. The act of hashing a piece of data does not reveal

     to an investigator any information about the contents of that data. However, I

     know that computer forensic applications often contain databases of known hash

     values for files. Some of those files are "ignorable," which enables other forensic

     processes to ignore files (such as the Windows operating system) that are not

     evidentiary in nature. I seek permission to utilize automated hash value

     comparisons to both exclude irrelevant files, and to potentially locate relevant

     files. Hash value comparisons are useful, but not definitive, as even a single-bit

     change to a file will alter the hash value for the file. The forensic review team does

                                 Page 24 of 33

Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 24 of 29
                   Aug 04 2021
                                                                   1:21-mj-00066-MMS
     not intend to rely solely on hash value comparisons, but intends to utilize them in

     order to assist with identifying relevant evidence. The use of this search method is

     intended to narrow the search. A search of known hash values, however, will not

     be used exclusively because I know that typically there are many files on digital

     devices with unknown hash values. Using a hash value search method exclusively

     would not uncover the data as well as other evidence authorized by this warrant

     and described in Attachment B.

d.   Opening Container Files, Encrypted Volumes, and Embedded Files: I know that

     relevant data may be compressed, encrypted, or otherwise embedded in other files

     or volumes. It is often not possible through any automated process to examine the

     contents of such containers without opening them, just as it is not possible to

     examine the contents of a locked safe without first opening the safe. In the event

     that compressed, encrypted, or otherwise embedded files or volumes may exist on

     the seized items, I intend to request the use of sophisticated forensic tools to

     attempt to open any such container files that may reasonably contain evidence.

e.   File Header / Extension Checks: I know that individuals involved in illegal

     activities or attempting to hide activities from other users on a computer often

     change the extension of a file (such as .jpg) to some other incompatible extension

     (such as .txt) in order to disguise files from casual observers. An example of a

     person attempting to hide activities on a computer would be that of a domestic

     abuse victim attempting to hide documents related to assistance for victims. The

     extension of a file, however, is not necessarily linked to the "header" of a file,

     which is a unique marking imbedded automatically in many types of files. By

                                 Page 25 of 33

Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 25 of 29
                   Aug 04 2021

                                                                  1:21-mj-00066-MMS
     comparing the extension of a file with the "header information" of a file, it is

     possible to detect attempts to disguise files. Such a comparison can be made in an

     automated process by computer forensic tools. I intend to run an automated header

     comparison to detect such efforts, and intend to review any such files that

     reasonably may contain evidence authorized by this warrant.

f.   Thumbnail / Image Views: Because the majority of the expected files will not have

     known hash values, a negative hash value comparison does not exclude a file.

     There is no known alternative for visually inspecting each file. I therefore intend to

     examine at least a thumbnail image of each image file on the digital media whether

     "live," "data carved," or identified by header as well as other files.

g.   Registry / Log File Checks: I know that it is necessary in any criminal case to

     establish not only that a crime has occurred, but also to establish what person

     committed that crime. Operating systems and computer programs often maintain

     various administrative files such as logs that contain information about user

     activities at certain times. In the Windows operating system, for example, some of

     these files are collectively referred to as "the registry". Such files contain specific

     information about users, often including e-mail addresses used, passwords stored,

     and programs executed by a particular user. These files may also contain evidence

     regarding storage devices that have been connected to a computer at some time.

     Multiple backup copies of such files may exist on a single computer. I intend to

     examine these files to attempt to establish the identity of any user involved in the

     creation, editing, or use of files found on the digital devices, and to establish

     methods (such as software used) and dates of this activity.

                                 Page 26 of 33

Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 26 of 29
                            Aug 04 2021



                                                                          1:21-mj-00066-MMS
       h.     Metadata / Alternative Data Streams: I know that many file types, operating

              systems, and file systems have mechanisms for storing information that is not

              immediately visible to the end user without some effort. Metadata, for example, is

              data contained in a file that is not usually associated with the content of a file, but

              is often associated with the properties of the application or device that created that

              file. For example, a digital camera photograph often has hidden data that contains

              information identifying the camera that manufactured it, and the date the image

              was taken. Some file systems for computers also permit the storage of alternate

              data streams, whereby a file such as a text file may hide an image file that would

              not be immediately visible to an end user without some action taken. I know that

              both metadata and alternative data streams may contain information that may be

              relevant. Metadata and alternative data streams are often identified and processed

              automatically by computer forensic utilities. I intend to review any such data that

              is flagged by any process above as being relevant.

       35.     Criminal Procedure Rule 41 specifically states “The officer may retain a copy of

the electronically stored information that was seized or copied.” Fed. R. Crim. P. 41 (f)(1)(B).

Moreover, upon identification of contraband, the item is subject to forfeiture, and the owner has

a reduced expectation of privacy in those seized devices. Consequently, should a seized device

be found during the authorized forensic review to contain contraband, it will be retained by the

United States, and may be searched without further authorization of the Court for the evidence

described in Attachment B. Such a later search may be required for the following reasons:

       a.     Should the execution of the warrant uncover data that may later need to be

              introduced into evidence during a trial or other proceeding, the authenticity and the

                                          Page 27 of 33

       Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 27 of 29
                   Aug 04 2021




                                                                  1:21-mj-00066-MMS
     integrity of the evidence and the government's forensic methodology may be

     contested issues. Retaining copies of seized storage media may be required to

     prove these facts.

b.   Returning the original storage medium to its owner will not allow for the

     preservation of that evidence. Even routine use may forever change the data it

     contains, alter system access times, or eliminate data stored on it.

c.   Because the investigation is not yet complete, it is not possible to predict all

     possible defendants against whom evidence found on the storage medium might be

     used. That evidence might be used against persons who have no possessory

     interest in the storage media, or against persons yet unknown. Those defendants

     might be entitled to a copy of the complete storage media in discovery. Retention

     of a complete image assures that it will be available to all parties, including those

     known now and those later identified.

d.   The act of destroying or returning storage medium could create an opportunity for

     a defendant to claim, falsely, that the destroyed or returned storage medium

     contained evidence favorable to him. Maintaining a copy of the storage medium

     would permit the government, through an additional warrant if necessary, to

     investigate such a claim.

e.   Similarly, should a defendant suggest an explanation for the presence of evidence

     on storage medium or some defense, it may be necessary to investigate such an

     explanation or defense by, among other things, re-examining the storage medium

     with that explanation or defense in mind. This may require an additional



                                 Page 28 of 33

Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 28 of 29
                            Aug 04 2021




                                                                           1:21-mj-00066-MMS
              examination of the storage medium for evidence that is described in Attachment B

              but was not properly identified and segregated previously.

                                             CONCLUSION

       36.     It is the affiant's belief, based upon the facts contained herein and previous

training and experience, the TARGET SUBJECTS are conducting activity that is consistent with

violations of the TARGET OFFENSES.

       37.     Therefore, it is the affiant's belief, based upon the facts contained herein and

previous training and experience, there is probable cause to believe evidence, fruits or

instrumentalities (see Attachment B, attached hereto and incorporated herein by this reference)

of violations of the TARGET OFFENSES, are currently concealed on the SUBJECT DEVICES

as described in Attachment A, attached hereto and incorporated herein by reference.




                                                  Matthew B Judy
                                                  Special Agent
                                                  Federal Bureau of Investigation


       Sworn to telephonically and signed electronically on this _______
                                                                  4th    day of August 2021.



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                                          Page 29 of 33

       Case 1:21-mj-00066-MMS Document 1-1 Filed 08/04/21 Page 29 of 29
